                    1                                     UNITED STATES BANKRUPTCY COURT
                                                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                    2                                          SAN FRANCISCO DIVISION
                    3

                    4
                         In re                                                     Case No. 21-30299 DM
                    5
                         ACEH CAPITAL, LLC,                                        Chapter 7
                    6
                                             Debtor.                               NOTICE OF TRUSTEE’S INTENTION
                    7                                                              TO SELL REAL PROPERTY OF THE
                                                                                   ESTATE (UNDEVELOPED LAND,
                    8                                                              APN# 3082-002-007, LOS ANGELES
                                                                                   COUNTY, CALIFORNIA) PURSUANT
                    9                                                              TO 11 U.S.C. § 363(b); PROCEDURE
                                                                                   FOR OVERBID AND OBJECTION
                   10
                                                                                   [NO HEARING SCHEDULED]
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                   13     TO THE DEBTOR, ALL CREDITORS, PARTIES IN INTEREST, AND THE OFFICE OF
                          THE UNITED STATES TRUSTEE:
                   14
                                 PLEASE TAKE NOTICE that E. Lynn Schoenmann, Chapter 7 Trustee (“Trustee”),
                   15
                          intends to sell the estate’s 60% ownership interest in real property consisting of undeveloped land
                   16     located in Los Angeles County, California, APN# 3082-002-007 (“Property”) to co-owners
                          Jackson Myint Khin and Yin Yin Win (together, “Co-Owner”). Co-Owner owns the remaining
                   17     40% interest in the Property. This Notice describes the terms of the proposed sale and the
                          procedure for objection and/or overbidding.
                   18
                                 On April 21, 2021, ACEH Capital, LLC (“Debtor”) filed a voluntary petition for relief
                   19     under chapter 7 of the Bankruptcy Code. The Trustee is the duly appointed, qualified and acting
                          chapter 7 trustee of the Debtor’s bankruptcy estate.
                   20
                                                                Terms of Sale of Real Property
                   21
                                   Lalit Kumar Chopra (“Initial Proposed Buyer”) made an offer to purchase the Property
                   22
                          (i.e., the entire Property – both the estate’s and Co-Owner’s respective interests), subject to
                   23     Bankruptcy Court approval, potential overbid, and potential exercise of Co-Owner’s statutory
                          right of first refusal under 11 U.S.C. § 363(i), for the price of $30,000.
                   24
                                  In response to the proposed sale to the Initial Proposed Buyer, Co-Owner elected to
                   25     exercise Co-Owner’s right of first refusal, and deposited into escrow the sum of $18,677.20,
                          reflecting the price of the estate’s 60% ownership interest in the Property, together with estimated
                   26     closing costs. In addition, Co-Owner executed an Agreement Re Exercise of Right of First
                          Refusal (“ROFR Agreement”), which incorporates the terms of the purchase agreement that the
                   27
                          Trustee entered into with the Initial Proposed Buyer, with certain modifications. A true and
                   28     correct copy of the ROFR Agreement is attached hereto as Exhibit A.
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   SAN FRANCISCO
                   LLP
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                    1            The Trustee proposes to sell the estate’s 60% ownership interest in the Property to Co-
                         Owner, subject to potential overbid, pursuant to 11 U.S.C. § 363(b). Pursuant to § 363(b), the
                    2    Trustee, after notice and hearing, may sell, other than in the ordinary course of business, property
                    3    of the bankruptcy estate.

                    4            The Trustee believes that the sale of the estate’s 60% interest in the Property to Co-
                         Owner, on the terms described above and in the attached Exhibit A, will benefit the estate and its
                    5    creditors.

                    6            PLEASE TAKE FURTHER NOTICE that any party interested in submitting an overbid
                         on the Property should contact the Trustee’s Court-approved broker, Hesam Tooloee at Sunriser
                    7    Landcore         Investments,        by       phone        510-928-5024          and/or       email
                         sunriserlandcoreinvestments@earthlink.net. Any persons interested in submitting an overbid on
                    8
                         the Property (i.e., the entire Property) must comply with the following procedure: Any overbid
                    9    shall be in an amount no less than $40,000, and shall be on terms substantially similar or more
                         favorable to the estate than those contained in the purchase agreement entered into with the Initial
                   10    Proposed Buyer, a copy of which is attached to the ROFR Agreement (“Overbid”). Any Overbid
                         must be submitted in writing, together with a deposit (fully refundable if the overbidder is not the
                   11    prevailing purchaser at auction or the overbid is not approved by the Bankruptcy Court) in the
                   12    amount of $5,000.00 made payable to “Bankruptcy Estate of ACEH Capital, LLC.” The deposit
                         must be in certified funds. Any Overbid must be received by Geoffrey A. Heaton, Duane Morris
                   13    LLP, One Market Plaza, Spear Street Tower, Suite 2200, San Francisco, California 94105-1127
                         by no later than December 27, 2021 at 4:00 p.m.
                   14
                                 If there is a qualifying Overbid, the Trustee will conduct an auction sale of the Property
                   15    through telephone and/or video conference at a date and time to be set by the Trustee. At the
                         auction, overbidding will begin with the highest overbid submitted and continue in increments of
                   16    $1,000.00 until no further bids remain. Once the highest bid is determined, Co-Owner will have a
                   17    right of first refusal to purchase the estate’s 60% interest in the Property calculated based upon
                         the winning overbid amount. The Trustee reserves the right to postpone or continue the auction
                   18    to a different day or time, subject to notice to Buyer and any and all qualified over-bidders.

                   19           If there are no qualified over-bidders, the Trustee will apply to the Court for an order
                         authorizing the sale of the Estate’s 60% interest in the Property to Co-Owner on the terms
                   20    described above.
                   21            PLEASE TAKE FURTHER NOTICE that your failure to file timely opposition hereto
                         may result in the approval of the sale on the terms set forth above and in Exhibit A. If you object
                   22    to the sale, you are directed to follow the procedures described below.
                   23
                                PLEASE TAKE FURTHER NOTICE that the Trustee intends to apply to the
                   24    above-entitled Court for an order approving this sale. Bankruptcy Local Rule 9014 of the United
                         States Bankruptcy Court for the Northern District of California prescribes the procedures to be
                   25    followed in the event that you have an objection to the proposed sale.
                   26              Any objection to the requested relief, or a request for hearing on the matter,
                                   must be filed and served upon the initiating party within twenty-one (21)
                   27              days of mailing of this Notice.
                   28
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                    1              Any objection or request for a hearing must be accompanied by declarations
                                   or memoranda of law any requesting party wishes to present in support of its
                    2              position.
                    3
                                   If there is no timely objection to the requested relief, or a request for hearing,
                    4              the Court may enter an order granting the relief by default.

                    5              In the event of a timely objection or a request for hearing, the initiating party
                                   will give at least seven (7) days written notice of the hearing to the objecting
                    6              or requesting party, and to any trustee or committee appointed in this case.
                    7           PLEASE TAKE FURTHER NOTICE that any objections or requests for hearing
                         should be filed with the United States Bankruptcy Court, 450 Golden Gate Avenue, Mail
                    8
                         Box 36099, San Francisco, California 94102, and a copy of the objection should be served on the
                    9    Office of the United States Trustee and counsel for the Trustee at the address shown below. The
                         Office of the United States Trustee is located at 450 Golden Gate Avenue, 5th Floor, Suite
                   10    # 05-0153, San Francisco, California 94102. For further information about the foregoing, please
                         contact counsel for the Trustee at the address shown below.
                   11

                   12    Dated: December 6, 2021                          /s/ Geoffrey A. Heaton (206990)
                                                                          GEOFFREY A. HEATON
                   13                                                     DUANE MORRIS LLP
                                                                          One Market Plaza
                   14
                                                                          Spear Street Tower, Suite 2200
                   15                                                     San Francisco, California 94105-1127
                                                                          T: (415) 957-3000 / F: (415) 957-3001
                   16                                                     Email: gheaton@duanemorris.com
                                                                          Attorneys for Chapter 7 Trustee,
                   17                                                     E. LYNN SCHOENMANN
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                   EXHIBIT A




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                  AGREEMENT RE EXERCISE OF RIGHT OF FIRST REFUSAL

        Jackson Myint Khin and Yin Yin Win (together, “Co-Owner”) and E. Lynn Schoenmann
(“Trustee”), chapter 7 trustee of the bankruptcy estate (“Estate”) of ACEH Capital, LLC
(“Debtor”) enter into this Agreement Re Exercise of Right of First Refusal (“ROFR Agreement”)
as follows:

                                               RECITALS

         A.     On April 21, 2021 (“Petition Date”), the Debtor filed a voluntary petition for
relief in the United States Bankruptcy Court for the Northern District of California (“Bankruptcy
Court”) under the provisions of Chapter 7 of the Bankruptcy Code, Case No. 21-30299 DM.

       B.     The Trustee has entered into a Vacant Land Purchase Agreement and Joint
Escrow Instructions (“Purchase Agreement”) with Lalit Kumar Chopra (“Initial Proposed
Buyer”) for the purchase of certain real property of the Estate identified in the Purchase
Agreement (“Property”).

       C.     A true and correct copy of the Purchase Agreement is attached as Exhibit A and
incorporated herein in its entirety.

          D.        Co-Owner has a 40 % ownership interest in the Property.

          E.        The Estate has a 60% ownership interest in the Property.

       F.     Co-Owner has elected to exercise Co-Owner’s right of first refusal (“ROFR”) to
purchase the Estate’s ownership interest in the Property pursuant to 11 U.S.C. § 363(i).

       G.     Co-Owner has no relationship with any broker listed in the Purchase Agreement,
and has been encouraged to obtain independent professional advice.

     H.     Co-Owner has deposited $18,677.20 into escrow with North American Title
Company in Burlingame, California.

        NOW THEREFORE, in consideration of the foregoing, and intending to be bound as
set forth herein, Co-Owner and the Trustee agree as follows:

                                             AGREEMENT

        1.      Adoption of Purchase Agreement Terms. Co-Owner agrees to be contractually
bound by all terms of the Purchase Agreement as the “Buyer” thereunder, including, but not
limited to, the “Seller Counter Offer No. 1” and the “Text Overflow Addendum No. 1”, as if Co-
Owner had signed and initialed all areas of the Purchase Agreement as Buyer, with the following
modifications:

                     a. Paragraph 1.A.: Co-Owner is substituted as the “Buyer”.




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